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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                             CRIMINAL FILE NO.
         v.                                  1:10-CR-251-10-TWT
 ARTIS LISBON
 also known as
 Bebe,
   Defendant.


                                        ORDER

      This is a criminal      action.   It is before the Court on the Report and

Recommendation [Doc. 304] of the Magistrate Judge recommending denying the

Defendant’s Motions to Suppress [Doc. 178, 194 & 256]. No useful purpose would

be served by repeating the facts and contentions of the parties set forth in the thorough

and well-reasoned Report and Recommendation of the Magistrate Judge. The

Magistrate Judge correctly found that the Defendant lacks standing to contest the

search at 1899 Trotti Street. The items seized at 355 West Ponce de Leon Avenue

were in plain view. There was probable cause to search the Chevrolet Malibu. The

searches of the safe deposit boxes were supported by probable cause.         The Court

approves and adopts the Report and Recommendation as the judgment of the Court.
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The Defendant’s Motions to Suppress [Doc. 178, 194 & 256] and Motion to Sever

[Doc. 180] are DENIED.

         SO ORDERED, this 2 day of December, 2011.



                                      /s/Thomas W. Thrash
                                      THOMAS W. THRASH, JR.
                                      United States District Judge




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